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                           EXHIBIT 4
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                                 #:3422
                                                                  1.800.207.7160
                                                                    Info@JNDLA.com
                                                                    www.JNDLA.com




       With over 70 years of collective experience in law and
       administration, it’s no surprise that JND’s seasoned executive
       management team has built the fastest-growing legal
       administration firm in the industry. When you work with us,
       your case receives the personal attention and expertise of our
       principals –Jen Keough (J), Neil Zola (N), and David Isaac (D).
       JND is well-known throughout the legal industry for providing
       the most responsive, trustworthy, and comprehensive legal
       administrative service in the country. JND has already been
       recognized by the New York Law Journal and the Legal Times
       as the best administration firm in the country for 2018 and 2017.
       JND was also recently named an approved vendor for the United
       States Securities and Exchange Commission (SEC) and the
       Federal Trade Commission (FTC).
       Where other firms come up short, clients who want the most
       dedicated, technically agile team turn to JND for innovative,
       ambitious strategies with proven results.
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                                 #:3423
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                                                                                   www.JNDLA.com

                                          JND and its prinicpals have overseen some of the
                                          JND and its prinicpals have overseen some of the
                                          most
                                          most complex
                                                complex class
                                                          class action
                                                                 action,and mass
                                                                         mass  tort,tort
                                                                                      andcases in our
                                                                                           corporate
                                          country’s history.
                                          restructuring cases in our country’s history.

                                          No other company in the legal    legal industry understands
                                                                                              understands
                                          more about
                                                  aboutclient
                                                         clientdelivery. NoNo
                                                                  delivery.   oneoneelse else
                                                                                          has proven   their
                                                                                               has proven
                                          ability  to handle  large, intricate  cases   like JND.
                                          their ability to handle large, intricate cases like JND. And   no
                                          otherno
                                          And    company    excels at the
                                                    other company          range
                                                                       excels  at of
                                                                                   theservices
                                                                                        range ofJND   offers.
                                                                                                   services
                                          JND offers.
                                                  CLASS ACTION ADMINISTRATION
                                                  Comprehensive administrative resources through
                                                  pre-settlement
                                                 CLASS     ACTION    consultation,
                                                                        ADMINISTRATION  complete notice
                                                  services, claims processing
                                          	Comprehensive                        and validation,
                                                                     administrative                scalable
                                                                                       resources through
                                                  call center capabilities,
                                                 pre-settlement                state-of-the-art
                                                                     consultation,      complete website
                                                                                                     notice
                                                  design, and an array of distribution services.
                                                 services, claims processing and validation, scalable
                                                 call
                                                  MASS center
                                                          TORT  capabilities, state-of-the-art website
                                                 design, and an
                                                  All aspects     arrayintake,
                                                               of case  of distribution
                                                                                 includingservices.
                                                                                              Plaintiff Fact
                                           Sheet preparation, retention, medical record
                                           MASS    TORT
                                           retrieval,       & LIEN
                                                      creating       RESOLUTION
                                                                chronologies, evaluating and
                                           summarizing
                                          	
                                           Manage       clientmedical
                                                                 intake, information,
                                                                            screening, lienand
                                           verification,   HIPAA   compliance   and  medical
                                           retention; medical record retrieval and review;
                                           monitoring
                                           Plaintiff     appointments.
                                                      Fact  Sheet preparation including a
                                           unique online website offering; claims and
                                           eDISCOVERY
                                           settlement administration; lien resolution; and
                                           Leverage an extensive, flexible cloud-based
                                           disbursements.
                                           platform to provide targeted data analysis, logical,
                                            physical and mobile forensics, data recovery, email
                                            eDISCOVERY
                                            examination, and timeline generation among
                                          	Leverage
                                            many otheran     extensive, ﬂexible cloud-based
                                                         offerings.
                                            platform to provide targeted data analysis, logical,
                                            CORPORATE
                                            physical          RESTRUCTURING
                                                      and mobile       forensics, data recovery,
                                            email examination, and oftimeline
                                            Support   and    navigation        the intricacies   of
                                                                                        generation
                                            restructuring,
                                            among   many otherincluding
                                                                  oﬀerings.pre-filing services,
                                            creditor communications and inquiries, noticing,
                                            claims processing and analysis, balloting and
                                            GOVERNMENT            SERVICES
                                            tabulations, and disbursements.
                                          	Assistance with all facets of any administration,
                                            including
                                            GOVERNMENT systematic    noticing, claims processing
                                                                  SERVICES
                                            and  validation,
                                            Assistance  with contact
                                                               all facetsservices, state-of-the-art
                                                                           of any administration,
                                            includingdesign
                                            website    systematic
                                                               and noticing,    claims
                                                                      distribution,  andprocessing
                                                                                           account
                                            and  validation,
                                            reconciliation.   contact    services, state-of-the-art
                                            website design and distribution, and account
                                            reconciliation.
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                                 #:3424
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                                                                                       www.JNDLA.com
                                                                                       www.JNDLA.com

                                                PRE-SETTLEMENT CONSULTING
                                          JND delivers the most reliable and comprehensive legal
                                                 We begin by consulting with clients on how to develop
                                          administrative resources and services available to our clients. Our
                                                 allocation methodologies and design efficient,
                                          team has  handled some
                                                 economical        of the most
                                                               roadmaps    for complex  classadministration
                                                                                settlement    action settlements
                                          in the country’s history.preliminary hearing support. Our team
                                                 while providing
                                                works with the parties to compile the class list, or
                                                 PRE-SETTLEMENT CONSULTING
                                                maintain a role as independent auditor of an existing class
                                                 Wetobegin
                                                list  verify by consulting with clients on how to develop
                                                             completeness.
                                                 allocation methodologies and design efficient, economical
                                                NOTICE
                                                 roadmaps PROGRAM
                                                               for settlement administration while providing
                                                Effectively
                                                 preliminary hearing class
                                                              notifying        members
                                                                         support.          is key
                                                                                    Our team      to the
                                                                                                works    approval
                                                                                                       with the parties
                                                of
                                                 to compile the class list, or maintain a role as effective
                                                    your   settlement.    We   advise   our  clients  on  independent
                                                notice
                                                 auditorbest
                                                          of anpractices    and are
                                                                 existing class       experienced
                                                                                 list to             in preparing
                                                                                         verify completeness.
                                                class lists from various sources. Management of the entire
                                                CAFA
                                                 NOTICE  Notice   process for Defendants is handled by our
                                                              PROGRAM
                                                team   with   our proprietary
                                                 Effectively notifying     class database
                                                                                 membersofis officials  whoapproval
                                                                                                key to the   need of
                                                to be  notified.  Our  notice  and  claim  form  mailing  services
                                                 your settlement. We advise our clients on effective notice
                                                utilize creative options to maximize effectiveness and
                                                 best practices and are experienced in preparing class lists
                                                reduce costs, while our advertising team comprises
                                                 from various sources. Management of the entire CAFA
                                                experts handling all media publication needs while
                                                 Notice process
                                                obtaining           forrates.
                                                             the best    Defendants is handled by our team with
                                                 our proprietary database of officials who need to be notified.
                                                 Our notice
                                                CLAIMS        and claim form mailing services utilize creative
                                                           PROCESSING
                                                 options
                                                Our       to maximize
                                                     professional  staff iseffectiveness     and reduce
                                                                            trained to process      even thecosts,
                                                                                                              mostwhile
                                                complex   claims with
                                                 our advertising   teamefficiency
                                                                           comprises  andexperts
                                                                                            accuracy    and weallaremedia
                                                                                                    handling


Class Action
                                                readily available
                                                 publication      to while
                                                              needs  draft, obtaining
                                                                              or assist inthe
                                                                                           drafting,   claim forms
                                                                                               best rates.
                                                to ensure class comprehension and complete claim form
                                                 CLAIMS PROCESSING
                                                submission.    Proprietary databases efficiently capture
                                                claim form  data
                                                 Our professional as well
                                                                     staff asis accurate
                                                                                 trained and    flexible even
                                                                                          to process     reporting;
                                                                                                               the most
                                                and
                                                 complex claims with efficiency and accuracy site,
                                                    with  our  proprietary    online  claim   submission    and wewe are
                                                are able to
                                                 readily    providetosecure
                                                         available     draft,submission
                                                                                  or assist inand   reduceclaim
                                                                                                 drafting,   overallforms
                                                complexity.   Knowing each case is different, we offer
                                                 to ensure class comprehension and complete claim form
                                                customized reporting to provide a variety of perspectives
                                                 submission. Proprietary databases efficiently capture claim
                                                on the data that our clients may have not considered.
                                                 form data as well as accurate and flexible reporting; and with
                                                 our proprietary
                                                BENEFIT            online claim submission site, we can provide
                                                              DISBURSEMENT
                                                 secure
                                                We      submission
                                                     manage            and reduce
                                                                 all aspects    of overall complexity.fund,
                                                                                    the settlement     Knowing
                                                 each caseopening
                                                including     is different,  we offeraccounts,
                                                                      disbursement     customized  reporting to
                                                                                                reconciling
                                                 provide a variety
                                                accounts,            of perspectives
                                                             establishing            on the
                                                                            a Qualified     data that our
                                                                                         Settlement   Fundclients
                                                (QSF),  filing
                                                 may have   nottax  returns, and serving as Escrow Agent.
                                                                considered.
                                                Even the most complex benefit allocation
                                                 BENEFIT DISBURSEMENT
                                                methodology     is implemented and applied to individual
                                                class members.     In addition,
                                                 JND manages all aspects          we manage
                                                                          of the settlement     tax
                                                                                            fund,    reporting
                                                                                                  including opening
                                                for settlement   disbursements,     including the  issuance
                                                 disbursement accounts, reconciling accounts, establishing   of a
                                                tax  statements,     such  as  W-2s     and  1099s,   to  class
                                                 Qualified Settlement Fund (QSF), filing tax returns, and serving
                                                members.
                                                 as Escrow We     alsoEven
                                                             Agent.     calculate  the complex
                                                                            the most     payroll withholding
                                                                                                  benefit allocation
                                                and   employer      taxes   that   are   often   required
                                                 methodology is implemented and applied to individual class
                                                                                                             in
                                                employment class action settlements. Our team
                                                 members. In addition, we manage tax reporting for settlement
                                                partners with a respected CPA firm to prepare
                                                 disbursements, including the issuance of tax statements, such
                                                settlement fund tax returns.
                                                 as W-2s and 1099s, to class members. We also calculate the
                                                 payroll withholding and employer taxes that are often required in
                                                 employment class action settlements. Our team partners with a
                                                 respected CPA firm to prepare settlement fund tax returns.
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                                      #:3425
                                                                      1.800.207.7160
                                                                        Info@JNDLA.com
                                                                        www.JNDLA.com

Prominent Case History
JND is routinely called upon to handle the largest and
most complex class action administrations. Some of the
matters JND and its Founders have worked on over the
years include the following:

•   Allagas v. BP Solar Int’l, Inc.
•   Auction Houses Antitrust Litigation
•   BP Deepwater Horizon Settlement
•   BP Solar International, Inc. Settlement
•   Cecil v. BP America Production Company
•   Chieftain-Marathon Oil Company Settlement
•   City of Long Beach Telephone Tax Settlement
•   ComScore Securities Litigation
•   Condé Nast Privacy Litigation
•   County of Los Angeles Telephone Tax Settlement
•   Dole Food Company Securities Litigation
•   Expedia Hotel Taxes & Fees Litigation
•   Freedom Financial Network Restitution Program
•   Greyhound Lines, Inc. ADA Settlement


                                                           Class Action
•   Halliburton EPJ Fund Securities Litigation
•   Hearst Communications, Inc. Privacy Litigation
•   In re Broiler Chicken Antitrust Litigation
•   In re J.P. Morgan Stable Value Fund ERISA Litigation
•   In re LIBOR-Based Financial Instruments Antitrust
    Litigation
•   In re Yahoo! Inc. Securities Settlement
•   Intuit Data Breach Litigation
•   IPO Securities Litigation
•   J. Crew Factory Store Pricing Litigation
•   Langan v. Johnson & Johnson Consumer Companies, Inc.
•   Linneman, et al., v. Vita-Mix Corp., et al.
•   Red Bull False Advertising Litigation
•   Robert Briseno et al. v. Conagra Foods, Inc.
•   Stericyle, Inc. Securities Litigation
•   TCF National Bank Restitution Program
•   TJX Companies False Pricing Settlement
•   Uber Technologies Employment Discrimination
    Settlement
•   Visa/Mastercard Antitrust Litigation
•   Vitamix Blender Settlement
•   Worldcom Securities Litigation
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                                      #:3426
                                                                      1.800.207.7160
                                                                        Info@JNDLA.com
                                                                        www.JNDLA.com


Prominent Case History
JND’s stand-alone securities group has handled
dozens of matters in the last year alone. Our
team, which is located in New York, is overseen
by Co-Founder Neil Zola, with over 25-years’
experience in securities class action litigation and
administration. Neil has played a direct role in
many of the largest securities settlements in our
country’s history. Among the matters handled by
JND and its principles include:

•   Akorn Securities Litigation
•   Bank of America Securities Litigation
•   Bankrate Securities Litigation
•   Citigroup Securities Litigation
•   ComScore Securities Litigation
•   Dole Food Company Securities Litigation
                                                       Securities
                                                       Experience
•   Endurance Securities Litigation
•   GoPro Shareholder Litigation
•   Halliburton EPJ Fund Securities Litigation
•   Higher One Holdings Securities Litigation
•   IPO Securities Litigation
•   Nortel Networks Securities Litigation I & II
•   Opus Bank Securities Litigation
•   Royal Ahold Securities and Erisa Litigation
•   Terraform Power Securities Litigation
•   Tyco International LTD Securities Litigation
•   Washington Mutual Securities Litigation
•   Wells Fargo RMBS Trustee Litigation
•   Worldcom Inc. Securities Litigation
•   Yahoo Securities Litigation
